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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
vs.                                        )   CRIMINAL NO. 15-00004-CG
                                           )
YAHYA A. ABDELHADI,                        )
                                           )
      Defendant.                           )

                                      ORDER

      This matter came on for a hearing this date on the United States’ Appeal of

the Magistrate’s Release Order.

      The court having listened to the recording of the detention hearing held

before the Magistrate on March 10, 2015, and having reviewed the Magistrate’s

Order (Doc. 42), and the arguments in the Government’s Notice of Appeal (Doc. 43)

and having considered the arguments of counsel during the hearing held this date,

the Magistrate’s decision is AFFIRMED.

      The defendant shall remain in custody pending his compliance with the

conditions as set forth on the record. A separate Order Setting Conditions of

Release will be issued once all the conditions are met.

      DONE and ORDERED this 16th day of March, 2015.

                                       /s/ Callie V. S. Granade
                                       UNITED STATES DISTRICT JUDGE
